           Case 2:07-cr-00344-RSL          Document 119        Filed 10/09/08      Page 1 of 2




 1

 2

 3

 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. CR07-344-RSL
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     NOE CAMACHO.                                      )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offense charged:

13         Conspiracy to Export Cocaine; Conspiracy to Distribute Cocaine; Conspiracy to Engage in

14    Money Laundering.

15    Date of Detention Hearing: October 9, 2008.

16         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18    that no condition or combination of conditions which the defendant can meet will reasonably

19    assure the appearance of the defendant as required and the safety of any other person and the

20    community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22         (1)      Defendant is charged by indictment with Conspiracy to Export Cocaine, Conspiracy

23    to Distribute Cocaine, and Conspiracy to Engage in Money Laundering.



     DETENTION ORDER -1
           Case 2:07-cr-00344-RSL          Document 119        Filed 10/09/08       Page 2 of 2




 1         (2)     Defendant is currently serving a sentence on another criminal matter. He is not

 2    eligible for release from that sentence for approximately five years. In view of his circumstances,

 3    defendant, through his attorney, did not contest detention. The Court did not receive any

 4    information regarding defendant’s personal history, background, financial status, ties to the

 5    community, or employment history.

 6         It is therefore ORDERED:

 7         (1)     Defendant shall be detained pending trial and committed to the custody of the

 8    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 9    from persons awaiting or serving sentences, or being held in custody pending appeal;

10         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

11    counsel;

12         (3)     On order of a court of the United States or on request of an attorney for the

13    Government, the person in charge of the correctional facility in which Defendant is confined shall

14    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

15    with a court proceeding; and

16         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

17    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

18         DATED this 9th day of October, 2008.

19

20                                                        A
                                                          BRIAN A. TSUCHIDA
21                                                        United States Magistrate Judge

22

23



     DETENTION ORDER -2
